Case:05-04680-ESL7 Doc#:22 Filed:02/11/07 Entered:02/11/07 23:37:15   Desc: Main
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Case:05-04680-ESL7 Doc#:22 Filed:02/11/07 Entered:02/11/07 23:37:15   Desc: Main
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Case:05-04680-ESL7 Doc#:22 Filed:02/11/07 Entered:02/11/07 23:37:15   Desc: Main
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Case:05-04680-ESL7 Doc#:22 Filed:02/11/07 Entered:02/11/07 23:37:15   Desc: Main
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Case:05-04680-ESL7 Doc#:22 Filed:02/11/07 Entered:02/11/07 23:37:15   Desc: Main
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Case:05-04680-ESL7 Doc#:22 Filed:02/11/07 Entered:02/11/07 23:37:15   Desc: Main
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Case:05-04680-ESL7 Doc#:22 Filed:02/11/07 Entered:02/11/07 23:37:15   Desc: Main
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Case:05-04680-ESL7 Doc#:22 Filed:02/11/07 Entered:02/11/07 23:37:15   Desc: Main
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Case:05-04680-ESL7 Doc#:22 Filed:02/11/07 Entered:02/11/07 23:37:15   Desc: Main
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Case:05-04680-ESL7 Doc#:22 Filed:02/11/07 Entered:02/11/07 23:37:15   Desc: Main
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Case:05-04680-ESL7 Doc#:22 Filed:02/11/07 Entered:02/11/07 23:37:15   Desc: Main
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Case:05-04680-ESL7 Doc#:22 Filed:02/11/07 Entered:02/11/07 23:37:15   Desc: Main
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Case:05-04680-ESL7 Doc#:22 Filed:02/11/07 Entered:02/11/07 23:37:15   Desc: Main
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